                            Case 16-13346-AJC                     Doc 1-2         Filed 03/09/16            Page 1 of 64
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Southern
 ____________________             Florida
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                         Miami Tees, Inc.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           TEES TO PLEES; CUSTOM T SHIRTS PRINTING NOW; PROMOTE A TEE
                                           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              6 ___
                                           ___ 5 – ___
                                                     0 ___
                                                        0 ___
                                                           6 ___
                                                              9 ___
                                                                 7 2___ 4
                                                                        ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            5120       NW 165 Street
                                           ______________________________________________               5120        NW 165 Street
                                                                                                        _______________________________________________
                                           Number     Street                                            Number     Street

                                            Bays #101 and 102
                                           ______________________________________________               Bay #101
                                                                                                        _______________________________________________
                                                                                                        P.O. Box

                                            Miami Gardens              FL        33014
                                           ______________________________________________               Miami Gardens              FL      33014
                                                                                                        _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Miami Dade
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.miamitees.us
                                           ____________________________________________________________________________________________________


                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
6.   Type of debtor
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                                 Case 16-13346-AJC             Doc 1-2          Filed 03/09/16            Page 2 of 64

Debtor          Miami Tees, Inc.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         ✔ None of the above
                                         

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              3 ___
                                            ___  2 ___
                                                    3 ___
                                                       1

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         ✔ Chapter 11. Check all that apply:
                                         
                                                       ✔ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                       
                                                             insiders or affiliates) are less than $2,490,925 (amount subject to adjustment on
                                                             4/01/16 and every 3 years after that).
                                                         ✔
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        ✔ No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases           ✔ No
                                         
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                            Case 16-13346-AJC                  Doc 1-2       Filed 03/09/16             Page 3 of 64

Debtor        Miami Tees, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      ✔ No
                                       
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                     Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                               Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                               Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  ✔ Funds will be available for distribution to unsecured creditors.
                                       
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                       ✔ 1-49
                                                                        1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                     ✔ $1,000,001-$10 million
                                                                                                                  $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                              Case 16-13346-AJC                 Doc 1-2           Filed 03/09/16          Page 4 of 64

Debtor         Miami Tees, Inc.
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                        ✔ $1,000,001-$10 million
                                                                                                                      $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of      Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                        Q   I have been authorized to file this petition on behalf of the debtor.

                                        Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                        03/09/2016
                                            Executed on _________________
                                                        MM / DD / YYYY


                                        8 /s/ Michael J. Chavez
                                            _____________________________________________              Michael J. Chavez
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                  President
                                            Title _________________________________________




18.   Signature of attorney
                                        8 /s/ William J. Maguire
                                            _____________________________________________              Date         03/09/2016
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                            William J. Maguire
                                            _________________________________________________________________________________________________
                                            Printed name
                                            Maguire Law Chartered
                                            _________________________________________________________________________________________________
                                            Firm name
                                            400         Columbia Drive Suite 100
                                            _________________________________________________________________________________________________
                                            Number     Street
                                            West Palm Beach,
                                            ____________________________________________________            FL
                                                                                                           ____________ 33409
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                            561-300-6812
                                            ____________________________________                            William@Maguire-Law.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                            072112
                                            ______________________________________________________ FL
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
                                Case 16-13346-AJC                 Doc 1-2            Filed 03/09/16              Page 5 of 64

 Fill in this information to identify the case and this filing:


             Miami Tees, Inc.
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             Florida
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 03/09/2016
                    ______________                         8 Michael J. Chavez
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Michael J. Chavez
                                                                ________________________________________________________________________
                                                                Printed name

                                                                President and sole shareholder
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                                          Case 16-13346-AJC         Doc 1-2         Filed 03/09/16           Page 6 of 64

      Fill in this information to identify the case:

      Debtor name __________________________________________________________________

      United States Bankruptcy Court for the: ______________________ District of _________

      Case number (If known):       _________________________
                                                                               (State)
                                                                                                                                            Check if this is an
                                                                                                                                                amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                    12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete              Name, telephone number, and   Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code        email address of creditor     (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                contact                       debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                              professional          unliquidated,   total claim amount and deduction for value of
                                                                              services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff
     Yellowstone Capital, LLC                                                 loan agreement
1
     18321 West Dixie Hwy
                                                                                                                                                          38,000.00
     #204
     Miami, FL 33160
     The Firestone Group                                                      loan agreement                        $269,279.46 $150,599.13 $118,680.33
2
     P.O. Box 810363
                                                                              and lease
     Boca Raton, FL 33481

     Florida Department of Revenue              305-470-5001                  state tax liens                                                            $21,981.04
3
     8175 NW 12th Street
     Miami, FL 33126-1828


4    Miami-Dade Tax Collector                   305-375-5221                  property taxes                                                             $12,000.00
     140 W. Flagler St.
     Miami, FL 33128
5    IOU Financial Inc.                                                       loan agreement                                                             $75,000.00
     600 TownPark Lane, Suite 100
     Kennesaw, GA 30144

6    Hunter Caroline                                                          loan agreement                                                             $55,000.00
     3785 NW 82 Ave
     Doral, FL 33166
7    Ibis Capital Group                                                       loan agreement                                                             $29,000.00
     45 JF Kennedy Dr.
     Stony Pt., NY 10980
     The Realty Associates Fund X, L.P.
8    c/o PGM Industrial, LLC
                                                                              lease                                                                      484,378.28
     10598 NW South River Drive                                               agreement
     Miami, FL 33178
     Attention: Property Manager




    Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
                                Case 16-13346-AJC             Doc 1-2         Filed 03/09/16              Page 7 of 64


    Debtor       Miami Tees, Inc.
                 _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
                                 Case 16-13346-AJC              Doc 1-2           Filed 03/09/16           Page 8 of 64
  Fill in this information to identify the case:

              Miami Tees, Inc.
  Debtor name __________________________________________________________________

                                         Southern
  United States Bankruptcy Court for the:_______________________             Florida
                                                                 District of ________
                                                                             (State)
  Case number (If known):     _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
   
   ✔      Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                    110.60
                                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)           Type of account                       Last 4 digits of account number
        Bank of America, N.A.
   3.1. _________________________________________________ checking
                                                          ______________________                ____ ____ ____ ____                 2.91
                                                                                                                                  $______________________
        Regions Bank
   3.2. _________________________________________________ checking
                                                          ______________________                ____ ____ ____ ____                24,590.07
                                                                                                                                  $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1                                                                                                                 8,792.09
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
   
   ✔      Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
        Electricity deposit
   7.1. ________________________________________________________________________________________________________                    7,914.39
                                                                                                                                   $______________________
       AT&T telephone deposit
   7.2._________________________________________________________________________________________________________                    503.49
                                                                                                                                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                    page 1
                                Case 16-13346-AJC                 Doc 1-2         Filed 03/09/16              Page 9 of 64
Debtor         Miami Tees, Inc.
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
       FPL
   8.1.___________________________________________________________________________________________________________                 7,914.39
                                                                                                                                  $______________________
       AT&T
   8.2.___________________________________________________________________________________________________________                 503.49
                                                                                                                                  $_______________________

9. Total of Part 2.
                                                                                                                                   8,417.88
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
    
    ✔ Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    59,151.07
                                 ____________________________   0.00
                                                              – ___________________________          = ........ Î                 59,151.07
                                                                                                                                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        125,982.70
                                  ___________________________   0.00
                                                              – ___________________________          = ........ Î                 125,982.70
                                                                                                                                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                               185,133.77
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    
    ✔ No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:
   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________




17. Total of Part 4                                                                                                               0.00
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 2
                            Case 16-13346-AJC                   Doc 1-2       Filed 03/09/16        Page 10 of 64
Debtor          Miami Tees, Inc.
                _______________________________________________________                   Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
    
    ✔ Yes. Fill in the information below.

     General description                            Date of the last      Net book value of     Valuation method used        Current value of
                                                    physical inventory    debtor's interest     for current value            debtor’s interest
                                                                          (Where available)
19. Raw materials
   t-shirt printing raw materials
   ________________________________________         ______________        153,329.17
                                                                         $__________________    cost
                                                                                                ______________________
                                                                                                                             153,329.17
                                                                                                                            $______________________
                                                    MM / DD / YYYY

20. Work in progress
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                          $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________


23. Total of Part 5                                                                                                          153,329.17
                                                                                                                            $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
    
    ✔     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    ✔ No. Go to Part 7.

     Yes. Fill in the information below.
      General description                                                 Net book value of     Valuation method used        Current value of debtor’s
                                                                          debtor's interest     for current value            interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________          $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________          $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________       $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                               page 3
                             Case 16-13346-AJC                   Doc 1-2         Filed 03/09/16         Page 11 of 64
Debtor         Miami Tees, Inc.
               _______________________________________________________                        Case number (if known)_____________________________________
               Name




33. Total of Part 6.                                                                                                             0.00
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

    
    ✔ No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    
    ✔ No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

    
    ✔ No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

    
    ✔ No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
    
    ✔ Yes. Fill in the information below.


   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture
   desks,cabinets,chairs,couch,tables
   ______________________________________________________________               27,200.00
                                                                               $________________     ____________________       $______________________

40. Office fixtures
   assorted accessories, art
   ______________________________________________________________               6,000.00
                                                                               $________________     ____________________       $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   computers,printers,cctv system and cctv TV monitor,sc
   ______________________________________________________________               52,300.00
                                                                               $________________     ____________________       $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                 85,500.00
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

    
    ✔ No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    
    ✔ No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 4
                                    Case 16-13346-AJC                            Doc 1-2          Filed 03/09/16          Page 12 of 64
 Debtor          Miami Tees, Inc.
                 _______________________________________________________                                        Case number (if known)_____________________________________
                 Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
    
    ✔ Yes. Fill in the information below.


   General description                                                                          Net book value of      Valuation method used        Current value of
                                                                                                debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                                                (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________                              $________________       ____________________       $______________________

   47.2___________________________________________________________                              $________________       ____________________       $______________________

   47.3___________________________________________________________                              $________________       ____________________       $______________________

   47.4___________________________________________________________                              $________________       ____________________       $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________                               $________________       ____________________       $______________________

   48.2__________________________________________________________                               $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________                               $________________       ____________________       $______________________

   49.2__________________________________________________________                               $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)
    Printing presses,Transformer,compressors and tanks, dryers, folding machines,dock
    ramp, dock plate,forklifts, vaccums, pallet jacks,pallet racking,transfer machines,pallet
   ______________________________________________________________
    attachments and tools,graphtec cutting plotter,heat press,                                   1,040,040.43
                                                                                                $________________       ____________________       $______________________


51. Total of Part 8.                                                                                                                                1,040,040.43
                                                                                                                                                   $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
    
    ✔     Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
    
    ✔     No
         Yes




 Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                     page 5
                                 Case 16-13346-AJC                      Doc 1-2         Filed 03/09/16          Page 13 of 64
Debtor          Miami Tees, Inc.
                _______________________________________________________                               Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
    
    ✔ Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                        Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as         of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property          in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
          5120 NW 165th Street , bays 101&102, Miami Gardens,
         FL 33014
    55.1________________________________________                 lease tenant
                                                                 _________________      380,378.28
                                                                                       $_______________      lease value
                                                                                                             ____________________         380,378.28
                                                                                                                                         $_____________________

    55.2________________________________________                 _________________     $_______________      ____________________        $_____________________

    55.3________________________________________                 _________________     $_______________      ____________________        $_____________________

    55.4________________________________________                 _________________     $_______________      ____________________        $_____________________

    55.5________________________________________                 _________________     $_______________      ____________________        $_____________________

    55.6________________________________________                 _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                          380,378.28
                                                                                                                                         $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    
    ✔     No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
    
    ✔ Yes. Fill in the information below.

      General description                                                              Net book value of     Valuation method             Current value of
                                                                                       debtor's interest     used for current value       debtor’s interest
                                                                                       (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                     $_________________     ______________________      $____________________

61. Internet domain names and websites
    www.miamitees.us                                                                    0.00                  cost                          0.00
    ______________________________________________________________                     $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                     $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                     $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                      $________________     _____________________       $____________________
65. Goodwill
    ______________________________________________________________                      $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                      0.00
                                                                                                                                          $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                               Schedule A/B: Assets  Real and Personal Property                                  page 6
                                 Case 16-13346-AJC              Doc 1-2        Filed 03/09/16               Page 14 of 64
Debtor          Miami Tees, Inc.
                _______________________________________________________                         Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔    No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔    No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔    No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
    
    ✔     Yes. Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                    _______________     –   __________________________         =Î   $_____________________
    ______________________________________________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
    Employee Cash Advances
   ____________________________________________________________                                                                      2,200.00
                                                                                                                                    $_____________________
    Prepaid interest
   ____________________________________________________________                                                                      -1,581.30
                                                                                                                                    $_____________________

78. Total of Part 11.
                                                                                                                                     618.70
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔    No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 7
                                     Case 16-13346-AJC                            Doc 1-2               Filed 03/09/16                   Page 15 of 64
Debtor            Miami Tees, Inc.
                  _______________________________________________________                                                 Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.
                                                                                                          8,792.09
                                                                                                         $_______________


81. Deposits and prepayments. Copy line 9, Part 2.
                                                                                                          8,417.88
                                                                                                         $_______________


82. Accounts receivable. Copy line 12, Part 3.
                                                                                                          185,133.77
                                                                                                         $_______________


83. Investments. Copy line 17, Part 4.
                                                                                                          0.00
                                                                                                         $_______________


84. Inventory. Copy line 23, Part 5.
                                                                                                          153,329.17
                                                                                                         $_______________


85. Farming and fishing-related assets. Copy line 33, Part 6.
                                                                                                          0.00
                                                                                                         $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                          85,500.00
                                                                                                         $_______________
     Copy line 43, Part 7.
                                                                                                          1,040,040.43
                                                                                                         $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

                                                                                                                                                 380,378.28
88. Real property. Copy line 56, Part 9. . ..................................................................................... Î              $________________


89. Intangibles and intellectual property. Copy line 66, Part 10.
                                                                                                          0.00
                                                                                                         $_______________


90. All other assets. Copy line 78, Part 11.                                                        +     618.70
                                                                                                         $_______________


                                                                                                          1,481,832.04                           380,378.28
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            +   91b.
                                                                                                                                                $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................      1,862,210.32
                                                                                                                                                                    $__________________




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                page 8
                                     Case 16-13346-AJC                        Doc 1-2                Filed 03/09/16         Page 16 of 64
  Fill in this information to identify the case:

              Miami Tees, Inc.
  Debtor name __________________________________________________________________
                                          Southern
  United States Bankruptcy Court for the: ______________________             Florida
                                                                 District of _________
                                                                                           (State)

  Case number (If known):       _________________________
                                                                                                                                                         Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    ✔ Yes. Fill in all of the information below.
    
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                   Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                    Amount of claim         Value of collateral
                                                                                                                                   Do not deduct the value that supports this
                                                                                                                                   of collateral.          claim
2.1 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     Bank of America, N.A.
     __________________________________________                    All inventory, chattel paper, accounts,              115,564.00
                                                                                                                       $__________________                  1,396,332.04
                                                                                                                                                           $_________________
                                                                   ___________________________________________________
    Creditor’s mailing address                                     equipment and general intangibles, as well
                                                                   ___________________________________________________

      FL9-100-02-10; P.O. Box 40329
     ________________________________________________________
                                                                   as all proceeds thereof
                                                                   ___________________________________________________
      Jacksonville, FL 32203-0329
     ________________________________________________________     Describe the lien
                                                                    UCC-1
                                                                    __________________________________________________
    Creditor’s email address, if known                             Is the creditor an insider or related party?
     _________________________________________
                                                                   ✔ No
                                                                      Yes

    Date debt was incurred           10/07/2002
                                     __________________            Is anyone else liable on this claim?
                                                                   ✔ No
    Last 4 digits of account
    number                    1 ___
                             ___ 1 ___
                                    4 ___
                                       0                              Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the                  As of the petition filing date, the claim is:
    same property?                                                 Check all that apply.
     No                                                              Contingent
    
    ✔ Yes. Specify each creditor, including this creditor,
                                                                      Unliquidated
             and its relative priority.
             I.R.S. - second; Hunter Caroline - third;
                                                                      Disputed
             ___________________________________
             ___________________________________
             Yellowstone Capital, LLC - fourth

2.2 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     Internal Revenue Service
     __________________________________________                    All debtor's property                                481,220.00
                                                                                                                       $__________________                  1,862,210.32
                                                                                                                                                           $_________________
                                                                   ___________________________________________________

    Creditor’s mailing address                                     ___________________________________________________
      51 SW 1st Avenue, 7th Floor Stop
     ________________________________________________________      ___________________________________________________
                                                                  Describe the lien
      5130, Miami, FL 33130-1608
     ________________________________________________________
                                                                    Federal tax lien
                                                                    __________________________________________________
    Creditor’s email address, if known                             Is the creditor an insider or related party?
     _________________________________________
                                                                   ✔ No
                                                                      Yes
                           11/19/2014
    Date debt was incurred __________________                      Is anyone else liable on this claim?
                                                                   ✔ No
    Last 4 digits of account
    number                    9 ___
                             ___ 7 ___
                                    2 ___
                                       4                              Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the                  As of the petition filing date, the claim is:
    same property?                                                 Check all that apply.

     No                                                              Contingent
    
    ✔ Yes. Have you already specified the relative                    Unliquidated
          priority?                                                   Disputed
         No. Specify each creditor, including this
               creditor, and its relative priority.
               _________________________________
               _________________________________
        
        ✔ Yes. The relative priority of creditors is
                                    2.1
               specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                     926,044.50
                                                                                                                                    $________________
    Page, if any.


   Official Form 206D                                    Schedule D: Creditors Who Have Claims Secured by Property                                                      4
                                                                                                                                                              page 1 of ___
                   Miami Tees, Inc.  Case 16-13346-AJC                     Doc 1-2          Filed 03/09/16               Page 17 of 64
  Debtor           _______________________________________________________                                   Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._3 Creditor’s name                                            Describe debtor’s property that is subject to a lien

     Florida Department of Revenue
     __________________________________________                 real property interests
                                                                ___________________________________________________
                                                                                                                                 21,981.04
                                                                                                                                $__________________      380,378.28
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address
                                                                ___________________________________________________
      8175 NW 12th Street
     ________________________________________________________

      Miami, FL 33126-1828
     ________________________________________________________   Describe the lien
                                                                 state tax lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                ✔ No
                                                                   Yes


                           06/05/2015
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                ✔ No
    Last 4 digits of account
    number                    9 ___
                             ___ 7 ___
                                    2 ___
                                       4                           Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
    
    ✔ Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

           
           ✔   Yes. The relative priority of creditors is
                                        2.1
                   specified on lines _____


  4 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Yellowstone Capital, LLC
     __________________________________________
                                                                All debtor's assets, including, but not limited
                                                                ___________________________________________________  38,000.00                           1,396,332.04
                                                                to, accounts, chattel paper, inventory,             $__________________                 $_________________
     Creditor’s mailing address                                 ___________________________________________________
                                                                equipment, and general intangibles, as well
                                                                as proceeds of the foregoing.
                                                                ___________________________________________________
      18321 West Dixie Hwy, #204
     ________________________________________________________

      Miami, FL 33160
     ________________________________________________________   Describe the lien
                                                                 UCC-1
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                ✔ No
                                                                   Yes

    Date debt was incurred           12/24/2015
                                     __________________         Is anyone else liable on this claim?
                                                                ✔ No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
    
    ✔ Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

           
           ✔   Yes. The relative priority of creditors is
                                        2.1
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         2 of ___
                                                                                                                                                           page ___  4
                   Miami Tees, Inc.  Case 16-13346-AJC                     Doc 1-2          Filed 03/09/16               Page 18 of 64
  Debtor           _______________________________________________________                                   Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._5 Creditor’s name                                            Describe debtor’s property that is subject to a lien

     The Firestone Group, Inc.
     __________________________________________                 Kornit Digital Kornit Storm II direct on
                                                                ___________________________________________________
                                                                                                                                 269,279.46
                                                                                                                                $__________________      150,599.13
                                                                                                                                                        $_________________
                                                                garment digital printer, P/N 70-MACH-9312,
                                                                ___________________________________________________
     Creditor’s mailing address
                                                                 S/N 931-434
                                                                ___________________________________________________
      8175 NW 12th Street
     ________________________________________________________

      Miami, FL 33126-1828
     ________________________________________________________   Describe the lien
                                                                 UCC-1
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                ✔ No
                                                                   Yes


                           07/01/2015
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                ✔ No
    Last 4 digits of account
    number                    9 ___
                             ___ 7 ___
                                    2 ___
                                       4                           Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    ✔ No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                                        2.1
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien


     __________________________________________
                                                                ___________________________________________________
                                                                                                                                $__________________     $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                ✔ No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                ✔ No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
    ✔
     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         4 of ___
                                                                                                                                                           page ___  4
                                     Case 16-13346-AJC                           Doc 1-2           Filed 03/09/16        Page 19 of 64
   Fill in this information to identify the case:

   Debtor           Miami Tees, Inc.
                    __________________________________________________________________
                                           Southern
   United States Bankruptcy Court for the: ______________________             Florida
                                                                  District of __________
                                                                                              (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    ✔
        Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                                                                         12,000.00
                                                                          As of the petition filing date, the claim is: $______________________    12,000.00
                                                                                                                                                  $_________________
    Miami-Dade          Tax Collector
    __________________________________________________________________ Check all that apply.
    140 W. Flagler Street
    ___________________________________________                          Contingent
                                                                        Unliquidated
    Miami, FL 33128
    ___________________________________________                         Disputed
    Date or dates debt was incurred                                       Basis for the claim:
    07/15/2014                                                            personal property taxes
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number        9 ___
                ___   7 ___
                         2 ___
                             4                                            ✔ No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
                               8
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
  Debtor            Miami Tees, Inc.  Case 16-13346-AJC
                    _______________________________________________________
                                                                                   Doc 1-2          Filed 03/09/16     Page 20 of 64
                                                                                                              Case number (if known)_____________________________________
                    Name



 Part 1.       Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Total claim              Priority amount



2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
                                                                               Contingent
                                                                            
        _________________________________________________________________
                                                                                Unliquidated
       ___________________________________________                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)


2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
                                                                               Contingent
                                                                            
        _________________________________________________________________
                                                                                Unliquidated
       ___________________________________________                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________      Contingent
                                                                               Unliquidated
       ___________________________________________
                                                                               Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________
       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                            As of the petition filing date, the claim is: $______________________     $_________________
                                                                            Check all that apply.
        _________________________________________________________________      Contingent
       ___________________________________________                             Unliquidated
                                                                               Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)




      Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __ of ___
  Debtor
                              Case 16-13346-AJC
                  Miami Tees, Inc.                               Doc 1-2
                  _______________________________________________________
                                                                                     Filed 03/09/16     Page 21 of 64
                                                                                               Case number (if known)_____________________________________
                  Name


 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                            29,000.00
                                                                                                                           $________________________________
    Ibis Capital Group
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    45 JF Kennedy Dr.
    ____________________________________________________________              Disputed
    Stony Pt., NY 10980
    ____________________________________________________________
                                                                                                contract
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            10/16/2015
                                               ___________________         Is the claim subject to offset?
                                                                           ✔ No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                            75,000.00
                                                                                                                           $________________________________
    IOU Financial Inc.
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    600 TownPark Lane, Suite 100
    ____________________________________________________________              Disputed
    Kennesaw, GA 30144
    ____________________________________________________________
                                                                                                contract
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            08/13/2015
                                               ___________________         Is the claim subject to offset?
                                                                           ✔ No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                            380,378.28
                                                                                                                           $________________________________
    The Realty Associates Fund X, L.P.
    ____________________________________________________________
                                                                              Contingent
    c/o PGM Industrial, LLC
                                                                              Unliquidated
                                                                           
    10598 NW South River Drive
    ____________________________________________________________
    Miami, FL 33178
                                                                               Disputed
    ____________________________________________________________
    Attention: Property Manager
                                                                                                lease agreement
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            01/01/2015
                                               ___________________         Is the claim subject to offset?
                                                                           ✔ No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __ of ___
  Debtor              Miami Tees, Inc.  Case 16-13346-AJC
                      _______________________________________________________
                                                                                   Doc 1-2             Filed 03/09/16     Page 22 of 64
                                                                                                                 Case number (if known)_____________________________________
                      Name



Part 3:              List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                               related creditor (if any) listed?          account number, if
                                                                                                                                                          any
          The Realty Associates Fund X, L.P.
4.1.      c/o TA Associates Realty                                                                                  3.3
                                                                                                               Line _____
         ___________________________________________________________________________________________________
          28 State Street
          Boston, MA 02109
         _________________________________________________________________
          Attention: Asset Manager - Miami
                                                                                                                  Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____

                                                                                                               
         ___________________________________________________________________________________________________
                                                                                                                   Not listed. Explain ________________   ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __ of ___
 Debtor        Miami Tees, Inc.Case 16-13346-AJC           Doc 1-2
               _______________________________________________________
                                                                         Filed 03/09/16     Page 23 of 64
                                                                                   Case number (if known)_____________________________________
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                             Total of claim amounts



5a. Total claims from Part 1                                                                     5a.
                                                                                                              12,000.00
                                                                                                             $_____________________________




5b. Total claims from Part 2                                                                     5b.   +      484,378.28
                                                                                                             $_____________________________




5c. Total of Parts 1 and 2                                                                                    496,378.28
                                                                                                 5c.         $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                       page __ of ___
                              Case 16-13346-AJC                   Doc 1-2          Filed 03/09/16           Page 24 of 64

 Fill in this information to identify the case:

             Miami Tees, Inc.
 Debtor name __________________________________________________________________

                                        Southern
 United States Bankruptcy Court for the:______________________ District of     Florida
                                                                               _______
                                                                              (State)
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or       Lease of 5120 NW 165th Street,
                                          ____________________________________             The Realty Associates Fund X, L.P.
                                                                                           _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest
                                          Bays #101 and 102, debtor is tenant
                                          ____________________________________             c/o PGM Industrial, LLC
                                                                                           _________________________________________________________
                                                                                           10598 NW South River Drive
                                                                                           _________________________________________________________
         State the term remaining         Through December 31, 2017
                                          ____________________________________             Miami, FL 33178
                                                                                           _________________________________________________________
         List the contract number of                                                       Attention: Property Manager
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       Lease of 5120 NW 165th Street,
                                          ____________________________________             The Realty Associates Fund X, L.P.
                                                                                           _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest
                                          Bays #101 and 102, debtor is tena
                                          ____________________________________             c/o TA Associates Realty
                                                                                           _________________________________________________________
                                                                                           28 State Street
                                                                                           _________________________________________________________
         State the term remaining         Through December 31, 2017
                                          ____________________________________             Boston, MA 02109
                                                                                           _________________________________________________________
         List the contract number of                                                       Attention: Asset Manager - Miami
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       Lease of Kornit Digital, P/N 70-MACH-9312
                                          ____________________________________             The Firestone Group
                                                                                           _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest
                                          debtor is lessee
                                          ____________________________________             P.O. Box 810363
                                                                                           _________________________________________________________
                                                                                           Boca Raton, FL 33481
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of ___
                                          Case 16-13346-AJC                                  Doc 1-2                 Filed 03/09/16                       Page 25 of 64

 Fill in this information to identify the case:

              Miami Tees, Inc.
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                          Southern
 United States Bankruptcy Court f or the: _______________________             Florida
                                                                  District of ________
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
                                                                                                                                                                                                  380,378.28
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B.....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                               1,481,832.04
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                                  1,862,210.32
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................
                                                                                                                                                                                                  926,044.50
                                                                                                                                                                                                $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                    12,000.00
                                                                                                                                                                                                $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +     484,378.28
                                                                                                                                                                                                $ ________________




4.   Total liabilities...................................................................................................................................................................
                                                                                                                                                                                                  1,422,422.78
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                             Case 16-13346-AJC                    Doc 1-2              Filed 03/09/16       Page 26 of 64


Fill in this information to identify the case:

            Miami Tees, Inc.
Debtor name __________________________________________________________________
                                        Southern
United States Bankruptcy Court for the: ______________________             Florida
                                                               District of _________
                                                                             (State)
Case number (If known):   _________________________



                                                                                                                                     Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   12/15

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

           Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                  Gross revenue
           may be a calendar year                                                             Check all that apply                (before deductions and
                                                                                                                                  exclusions)

          From the beginning of the                                                           ✔ Operating a business
                                                                                              
                                               01/01/2016 to                                                                        296,143.13
          fiscal year to filing date:     From ___________
                                                 MM / DD / YYYY
                                                                          Filing date          Other _______________________      $________________


          For prior year:                      01/01/2015 to
                                          From ___________                12/31/2015
                                                                          ___________         ✔ Operating a business
                                                                                                                                   2,896,812.40
                                                                                                                                   $________________
                                                 MM / DD / YYYY            MM / DD / YYYY
                                                                                               Other _______________________
          For the year before that:            01/01/2014 to
                                          From ___________                12/31/2104
                                                                          ___________         ✔ Operating a business
                                                                                                                                   3,096,103.94
                                                                                                                                   $________________
                                                 MM / DD / YYYY            MM / DD / YYYY
                                                                                               Other _______________________


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     ✔
        None

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the
                                                                                             ___________________________          $________________
           fiscal year to filing date: From ___________            to      Filing date
                                                 MM / DD / YYYY



           For prior year:                From ___________         to      ___________
                                                 MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________



           For the year before that:      From ___________         to      ___________
                                                 MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




 Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
                                Case 16-13346-AJC                 Doc 1-2        Filed 03/09/16           Page 27 of 64

Debtor              Miami Tees, Inc.
                    _______________________________________________________                    Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,225. (This amount may be
    adjusted on 4/01/16 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
             AT&T
             __________________________________________         02/01/2
                                                                ________         22,092.46
                                                                               $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             03/08/2
                                                                ________                                    ✔
                                                                                                                 Suppliers or vendors
             One AT&T Way
             __________________________________________                                                          Services
             Bedminster               NJ       07921
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


     3.2.
             Miami Screen Print Supply, Inc.
             __________________________________________         12/09 -
                                                                ________         21,325.00
                                                                               $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             5566 N.W. 161 STREET
             __________________________________________
             Street                                             03/08
                                                                ________                                    ✔
                                                                                                                 Suppliers or vendors
             __________________________________________                                                          Services
             MIAMI GARDENS            FL      33014
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,225. (This amount may be adjusted on 4/01/16 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                          Dates        Total amount or value        Reasons for payment or transfer
     4.1.
             Michael J. Chavez
             __________________________________________        _________       48,000.00
                                                                              $__________________         officer salaries
                                                                                                          ___________________________________________
             Insider’s name
             11515 SW 87 Avenue
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             Miami,                   FL        33176
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor
             President and sole shareholder
             __________________________________________


     4.2.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



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Debtor              Miami Tees, Inc.
                    _______________________________________________________                                          Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     ✔
           None
            Creditor’s name and address                                       Description of the property                                    Date               Value of property
     5.1.

            __________________________________________                        ___________________________________________                    ______________     $___________
            Creditor’s name
            __________________________________________                        ___________________________________________
            Street
            __________________________________________                        ___________________________________________
            __________________________________________
            City                               State         ZIP Code

     5.2.

            __________________________________________                        ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________                        ___________________________________________
            Street
            __________________________________________                        ___________________________________________
            __________________________________________
            City                               State         ZIP Code


 6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     ✔
           None
             Creditor’s name and address                                        Description of the action creditor took                      Date action was       Amount
                                                                                                                                             taken

             __________________________________________                       ___________________________________________                  _______________      $___________
             Creditor’s name
             __________________________________________                       ___________________________________________
             Street
             __________________________________________
             __________________________________________                       Last 4 digits of account number: XXXX– __ __ __ __
             City                                State           ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                                             Nature of case                           Court or agency’s name and address                  Status of case
            The Realty Associates Fund X, LP, as s/i/i Lucky's
     7.1.   Arcade, Inc. v. Miami Tees, dba Tees to Plees
             _________________________________
                                                                    Eviction
                                                                    ______________________________          11th Judicial Circuit, Miami-Dade
                                                                                                            __________________________________________              Pending
                                                                                                            Name
                                                                                                                                                                    On appeal
                                                                                                            73 West Flagler Street
                                                                                                            __________________________________________
             Case number                                                                                    Street                                               ✔
                                                                                                                                                                    Concluded
                                                                                                            __________________________________________
             2014-032457-CA-01
             _________________________________                                                              Miami              FL         33130
                                                                                                            __________________________________________
                                                                                                            City                   State             ZIP Code


             Case title                                                                                       Court or agency’s name and address
                                                                                                                                                                    Pending
     7.2.
             _________________________________                      ______________________________          __________________________________________              On appeal
                                                                                                            Name

             Case number                                                                                    __________________________________________
                                                                                                                                                                    Concluded
                                                                                                            Street
                                                                                                            __________________________________________
             _________________________________
                                                                                                            __________________________________________
                                                                                                            City                           State     ZIP Code


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Debtor               Miami Tees, Inc.
                     _______________________________________________________                           Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     ✔
           None
              Custodian’s name and address                          Description of the property                        Value

             __________________________________________             ______________________________________             $_____________
             Custodian’s name
                                                                    Case title                                         Court name and address
             __________________________________________
             Street
                                                                   ______________________________________            __________________________________________
             __________________________________________                                                              Name
             __________________________________________             Case number                                      __________________________________________
             City                          State       ZIP Code                                                      Street
                                                                   ______________________________________            __________________________________________
                                                                    Date of order or assignment                      __________________________________________
                                                                                                                     City                 State               ZIP Code

                                                                   ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     ✔
           None
             Recipient’s name and address                           Description of the gifts or contributions                   Dates given           Value


            __________________________________________              ___________________________________________                 _________________   $__________
     9.1.
            Recipient’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________              ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     ✔
           None
             Description of the property lost and how the loss      Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                               If you have received payments to cover the loss, for                            lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).


             ___________________________________________            ___________________________________________                 _________________   $__________
             ___________________________________________


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Debtor             Miami Tees, Inc.
                   _______________________________________________________                        Case number (if known)_____________________________________
                   Name




 Part 6:       Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Maguire Law Chartered
            __________________________________________
   11.1.                                                      ___________________________________________                03/07/2016            11,700.00
                                                                                                                         ______________      $_________
            Address
                                                              ___________________________________________
            400 Columbia Drive, Suite 100
            __________________________________________
            Street
            __________________________________________
            West Palm Beach,         FL 33409
            __________________________________________
            City                        State      ZIP Code


            Email or website address
            www.maguire-law.com
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________        ___________________________________________
                                                                                                                         ______________      $_________
            Address                                           ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code

            Email or website address
            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.
     ✔
          None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________        ___________________________________________                 ______________      $_________

            Trustee                                           ___________________________________________
            __________________________________________




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Debtor             Miami Tees, Inc.
                   _______________________________________________________                        Case number (if known)_____________________________________
                   Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

     ✔
          None

            Who received transfer?                               Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.    __________________________________________           ___________________________________________                ________________    $_________

                                                                 ___________________________________________
            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________




            Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.    __________________________________________           ___________________________________________

            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________



 Part 7:       Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

     ✔
          Does not apply
            Address                                                                                              Dates of occupancy


   14.1.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


   14.2.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


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Debtor             Miami Tees, Inc.
                   _______________________________________________________                           Case number (if known)_____________________________________
                   Name




 Part 8:           Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     ✔
          No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ____________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                              Electronically
                                                                                                                                              Paper

            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ___________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                              Electronically
                                                                                                                                              Paper

 Part 9:           Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     ✔
          No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                   Does the debtor have a privacy policy about that information?
                      No
                      Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
     T     Yes. Does the debtor serve as plan administrator?
                      No. Go to Part 10.
                      Yes. Fill in below:
                          Name of plan                                                                           Employer identification number of the plan

                          _______________________________________________________________________                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                       Has the plan been terminated?
                           No
                           Yes



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Debtor             Miami Tees, Inc.
                   _______________________________________________________                        Case number (if known)_____________________________________
                   Name




 Part 10:          Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.
     ✔
          None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–___ ___ ___ ___             Checking                  ___________________      $__________
            Name
                                                                                            Savings
            ______________________________________
            Street                                                                          Money market
            ______________________________________
                                                                                            Brokerage
            ______________________________________
            City                  State       ZIP Code                                      Other______________

   18.2.     ______________________________________        XXXX–___ ___ ___ ___             Checking                  ___________________      $__________
            Name
                                                                                            Savings
            ______________________________________
            Street                                                                          Money market
            ______________________________________
                                                                                            Brokerage
            ______________________________________
            City                  State       ZIP Code                                      Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     ✔
          None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________       __________________________________          __________________________________                No
            Name
                                                          __________________________________          __________________________________
                                                                                                                                                        Yes
            ______________________________________
            Street                                        __________________________________          __________________________________
            ______________________________________
            ______________________________________         Address
            City                  State       ZIP Code
                                                          ____________________________________

                                                          ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    ✔
          None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                          __________________________________          __________________________________
                                                                                                                                                       Yes
                                                          __________________________________          __________________________________
            ______________________________________
            Street                                        __________________________________          __________________________________
            ______________________________________
            ______________________________________          Address
            City                  State       ZIP Code
                                                           ________________________________

                                                           _________________________________



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Debtor           Miami Tees, Inc.
                 _______________________________________________________                                Case number (if known)_____________________________________
                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     ✔
        None

          Owner’s name and address                              Location of the property                    Description of the property                 Value

                                                                                                                                                        $_______
          ______________________________________                __________________________________          __________________________________
          Name
                                                                __________________________________          __________________________________
          ______________________________________
          Street                                                __________________________________          __________________________________
          ______________________________________
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     ✔
        No
        Yes. Provide details below.
          Case title                                     Court or agency name and address                   Nature of the case                       Status of case

          _________________________________
                                                         _____________________________________              __________________________________         Pending
          Case number                                    Name
                                                                                                            __________________________________
                                                                                                                                                       On appeal

          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                       Concluded
                                                                                                            __________________________________
                                                         _____________________________________
                                                         _____________________________________
                                                         City                    State       ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     ✔
        No
        Yes. Provide details below.
         Site name and address                           Governmental unit name and address                 Environmental law, if known            Date of notice


          __________________________________             _____________________________________              __________________________________       __________
          Name                                           Name
                                                                                                            __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                             __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State    ZIP Code        City                   State        ZIP Code




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Debtor             Miami Tees, Inc.
                   _______________________________________________________                         Case number (if known)_____________________________________
                   Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     ✔
          No
          Yes. Provide details below.

           Site name and address                      Governmental unit name and address               Environmental law, if known                Date of notice


            __________________________________        ______________________________________           __________________________________           __________
            Name                                      Name
                                                                                                       __________________________________
            __________________________________        ______________________________________
            Street                                    Street                                           __________________________________
            __________________________________        ______________________________________
            __________________________________        ______________________________________
            City                  State    ZIP Code   City                 State        ZIP Code




 Part 13:            Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.
     ✔
          None


            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

                                                                                                                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
   25.1.    __________________________________         _____________________________________________
            Name                                                                                                Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______         To _______
            __________________________________
            City                  State    ZIP Code




            Business name and address                  Describe the nature of the business                      Employer Identification number
   25.2.                                                                                                        Do not include Social Security number or ITIN.

            __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                                                                                Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______         To _______
            __________________________________
            City                  State    ZIP Code



            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

   25.3.    __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                       _____________________________________________            Dates business existed
            __________________________________
            Street                                     _____________________________________________
            __________________________________
            __________________________________
                                                                                                                From _______         To _______
            City                  State    ZIP Code




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Debtor            Miami Tees, Inc.
                  _______________________________________________________                          Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                  Dates of service

                                                                                                                From _______       To _______
   26a.1.     __________________________________________________________________________________
              Name
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              __________________________________________________________________________________
              City                                                State                 ZIP Code


              Name and address                                                                                  Dates of service

                                                                                                                From _______       To _______
   26a.2.     __________________________________________________________________________________
              Name
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              __________________________________________________________________________________
              City                                                State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                     Name and address                                                                           Dates of service

                                                                                                                From _______       To _______
         26b.1.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code


                     Name and address                                                                           Dates of service

                                                                                                                From _______       To _______
         26b.2.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                                                                                                                If any books of account and records are
                     Name and address
                                                                                                                unavailable, explain why


         26c.1.      ______________________________________________________________________________             _________________________________________
                     Name
                                                                                                                _________________________________________
                     ______________________________________________________________________________
                     Street                                                                                     _________________________________________
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



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Debtor               Miami Tees, Inc.
                     _______________________________________________________                        Case number (if known)_____________________________________
                     Name




                                                                                                                 If any books of account and records are
                       Name and address
                                                                                                                 unavailable, explain why


           26c.2.      ______________________________________________________________________________            _________________________________________
                       Name
                                                                                                                 _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                    _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                    None

                       Name and address


           26d.1.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
           No
     ✔
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                        Date of       The dollar amount and basis (cost, market, or
                                                                                                    inventory     other basis) of each inventory


              ______________________________________________________________________               _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State        ZIP Code




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Debtor             Miami Tees, Inc.
                   _______________________________________________________                     Case number (if known)_____________________________________
                   Name




            Name of the person who supervised the taking of the inventory                     Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

            ______________________________________________________________________            _______       $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name
            ______________________________________________________________________
            Street
            ______________________________________________________________________
            ______________________________________________________________________
            City                                                    State         ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

            Name                                Address                                              Position and nature of any             % of interest, if any
                                                                                                     interest
            Michael J. Chavez
            ____________________________        11515 SW 87 Avenue, Miami, FL 33176
                                                _____________________________________________        President/shareholder
                                                                                                     ____________________________            100
                                                                                                                                             _______________

            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     ✔
        No
          Yes. Identify below.

            Name                                Address                                               Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     ✔
          Yes. Identify below.

            Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.    ______________________________________________________________            _________________________           _____________       ____________
            Name
            ______________________________________________________________
            Street                                                                                                       _____________
            ______________________________________________________________
            ______________________________________________________________                                               _____________
            City                                     State          ZIP Code

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
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Debtor               Miami Tees, Inc.
                     _______________________________________________________                        Case number (if known)_____________________________________
                     Name




              Name and address of recipient
                                                                                            __________________________     _____________       ______________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________
              ______________________________________________________________
              Street                                                                                                       _____________
              ______________________________________________________________
              ______________________________________________________________                                               _____________
              City                                           State       ZIP Code


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ✔
          No
          Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

             ______________________________________________________________                              EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     ✔
          No
          Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

             ______________________________________________________________                              EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:              Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on      03/09/2016
                              _________________
                               MM / DD / YYYY



         8 /s/ Michael J. Chavez
             ___________________________________________________________                               Michael J. Chavez
                                                                                          Printed name _________________________________________________
             Signature of individual signing on behalf of the debtor

                                                President and sole shareholder
             Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         ✔
             Yes




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Debtor: Miami Tees, Inc.



3. Certain payments or transfers to creditors within 90 days before filing this case

Creditor’s name and address                           Dates                              Total amount or value            Reasons for payment or
                                                                                                                          transfer

3.3     Nazdar                                        01/01/2016                            $46,880.09                       Supplier or Vendor

        13160 NW 43rd Ave                             03/08/2016

        Opa Locka, FL 33054




3.4     The Realty Associates Fund X, LP              01/01/2016                            $56,357.63                       Supplier or Vendor

        Landlord, C/O TA Associates Realty            03/08/2016

        28 State Street

        Boston, Massachusetts 02109

Landlord, C/O PGM Industrial, LLC, 10598 NW South River Drive, Miami, Florida 33178 Attention: Property Manager



3.5     United States Treasury                        01/01/2016                            $47,917.50                       Supplier or Vendor

        Francis Yanes, R.O. (#0577962)                03/08/2016

        SBSE

        51 SW 1st Ave, Room 700______

        Miami, FL 33130
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